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                           UNITED STATED DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN

ALLAN DAVISSON                        )
          Plaintiff                   )      Civil Case No.: 2:11−cv−11796−GER −RSW
                                      )
v.                                    )
                                      )
Enhanced Recovery Company, LLC        )
               Defendant              )
                                      )

                           VOLUNTARY NOTICE OF DISMISSAL

Pursuant to Fed.R.Civ.P. 41(a)(1)(i), Plaintiff voluntarily dismisses with prejudice his claims

against Defendant.




                                                             Respectfully Submitted,
                                                             ALLAN DAVISSON


                                                             By:    s/ Jarrod Barron
                                                                    Attorney for Plaintiff
Dated: June 20, 2011

Jarrod Barron, P55353
Jarrod Barron, PLLC
1555 West Lansing Road
Morrice, MI 48857
Telephone: 517-481-3521
Facsimile: 888-532-9887
jarrodbarron@yahoo.com
